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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

KEITH COLE, JACKIE BRANNUM,                            §
RICHARD ELVIN KING, LAVAR SANTEE,                      §
FRED WALLACE, and MARVIN RAY                           §
YATES, individually and on behalf of those             §
similarly situated,                                    §
         Plaintiffs,                                   §
                                                       §
v.                                                     §               No. 4:14-cv-1698
                                                       §
BRYAN COLLIER, in his official capacity,               §
ROBERT HERRERA, in his official capacity               §
and TEXAS DEPARTMENT OF                                §
CRIMINAL JUSTICE,                                      §
      Defendants.                                      §

            DEFENDANTS’ MOTION TO STRIKE PLAINTIFFS’ EVIDENCE
            OFFERED IN SUPPORT OF THEIR MOTION FOR CONTEMPT,
                    TO SHOW CAUSE AND FOR SANCTIONS

        Defendant Bryan Collier and the Texas Department of Criminal Justice lodge the following

objections and move to strike certain exhibits filed by Plaintiffs attached to Docket Entry No. 1459,

Plaintiffs’ Motion for Contempt, to Show Cause and for Sanctions, and request that the Court strike

them from the record.

     1. Declarations: Exhibits 1, 2, 5, 8, 9, 60, 63, and 66–71

        Defendants move to strike a number of the declarations attached as exhibits. Exhibits 1, 2, 5,

8, 9, 60, 63, and 66–71 contain inadmissible hearsay within hearsay. See Fed. R. Evid. 801. The

declarant either conveys out of court statements made by prison officials, other inmates, or in the case

of Exhibits 70 and 71 statements made by family and friends of inmates. Accordingly, Defendants

move to strike these exhibits.

     2. Plaintiffs’ Summary Documents: Exhibits 15–18, 24–25, 37, and 55
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        Defendants move to strike Exhibits 15–18, 24–25, 37, and 55, which appear to be a summaries

of heat indices, inmates’ BMI, and speculative “mishoused” inmates. The chart summaries do not

comport with the requirements of Federal Rule of Evidence 1006. See United States v. Taylor, 210 F.3d

311, 315 (5th Cir.2000). (“The admission of organization charts and summary evidence is governed

by Federal Rules of Evidence 611(a) and 1006.”). “Summary evidence may be admitted into evidence

under Federal Rule of Evidence 1006 if it is a summary chart based on previously admitted evidence

that is so voluminous that in-court review by the jury would be difficult, but it is admissible only as

long as the evidence it purports to summarize is admissible under the Federal Rules and if the offering

party provides the requisite foundation establishing its accuracy.” BP Expl. & Prod. Inc. v. Cashman

Equip. Corp., No. H-13-3046, 2016 WL 1387907, at *6 (S.D. Tex. Apr. 8, 2016) (citing U.S. v. Harms,

442 F.3d 367, 375 (5th Cir. 2006)); See also Peat, Inc. v. Vanguard Research, Inc., 378 F.3d 1154, 1160 (11th

Cir.2004) (“Rule 1006 is not a back-door vehicle for the introduction of evidence which is otherwise

inadmissible.”).

        The charts offered by the Plaintiffs, which purport to summarize inmates’ BMI and daily heat

indices from various locations and estimated totals of “mishoused” inmates, lack proper foundation,

are unauthenticated, and should be excluded. Plaintiffs fail to identify the evidence in the record that

the information in the chart is based upon. Moreover, Plaintiffs fail to establish the chart’s accuracy.

The information and documents used to prepare the chart and the information summarized is

unknown and unidentified. Exhibits 24 and 25 are entirely speculative. See Fed. R. Evid. 602.

Furthermore, Plaintiffs do not show that the records related to these individuals is too voluminous

for the court to review.

        While it is presumed Plaintiffs’ counsel created the charts, Plaintiffs fail to identify the

person(s) that actually created it. The Fifth Circuit has cautioned that while summaries may be

appropriate for summarizing voluminous records, “…testimony by an advocate summarizing and
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organizing the case for the jury constitutes a very different phenomenon, not justified by the Federal

Rules of Evidence or our precedent.” United States v. Fullwood, 342 F.3d 409, 413 (5th Cir.2003).

Furthermore, the information within the charts are inadmissible and unauthenticated hearsay. See Fed.

R. Evid. 801. The charts include improper expert opinions in the form of data based on calculations

that must be attested to by a person with requisite training, education and knowledge. See Fed. R. Evid.

702. Plaintiffs should not be permitted to use these charts as a back-door vehicle for introducing

otherwise inadmissible evidence. See Peat, Inc., 378 F.3d at 1160.

    3. Various Publications: Exhibits 14, 32, 50, and 53–54

        Defendants move to strike Exhibits 14, 50, and 53–54, which include what appear to be

publications from a national institute and from a weather service, but with no authenticating

information. These are inadmissible hearsay. Fed. R. Evid. 801. These publications do not fall within

the exception to the rule against hearsay for “Statements in Learned Treatises, Periodicals, and

Pamphlets” because the statements within the publications were not discussed by experts in their

reports or during their examinations, and Plaintiffs have not established their sources as reliable

authorities through experts’ testimony or by judicial notice. See Fed. R. Evid. 803 (18). Furthermore,

even if statements from this article were admissible in court, the statements may only be read into

evidence and not received as exhibits. Id. Accordingly, the Defendants move to strike these exhibits.

        Finally, Defendants move to strike Exhibits 44 and 45 contain information from an ACA

conference and website. Defendants object as both exhibits are not relevant to the matters now before

the Court. See Fed. R. Evid. 401, 402. The exhibits should be excluded as they contain inadmissible

hearsay. See Fed. R. Evid. 801. Further, Exhibit 45 purports to be a screen shot of the ACA website,

however, no foundation has been laid to authenticate the document. Screen shots are treated similarly

to photographs in that it requires the proponent to establish personal knowledge that the screen shot
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accurately depicts the contents of the website. See Fed. R. Evid. 901. This requirement has not been

satisfied, therefore Exhibit 45 should be struck.

                                           CONCLUSION

        Defendants respectfully request that the Court sustain Defendants’ objections to the above

listed exhibits and strike them from the record in this case.

                                                Respectfully submitted,


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                                                ATTORNEYS FOR DEFENDANTS
                                                COLLIER, HERRERA, AND TDCJ
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                             NOTICE OF ELECTRONIC FILING

       I, Leah O’Leary, Assistant Attorney General of Texas, do herby certify that I have

electronically filed this pleading in accordance with the Electronic Case Files System of the Southern

District of Texas, on September 27, 2019.


                                               /s/ Leah O’Leary
                                               LEAH O’LEARY
                                               Assistant Attorney General



                                 CERTIFICATE OF SERVICE

       I, Leah O’Leary, Assistant Attorney General of Texas, certify that a true and correct copy of

the foregoing has been served to all attorneys of record by electronic notice in accordance with Rule

5(b)(2) of the Federal Rules of Civil Procedure on Sept. 27, 2019.



                                               /s/ Leah O’Leary
                                               LEAH O’LEARY
                                               Assistant Attorney General
